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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

        Western District Of Arkansas
     ______________

     Case number (If known): _________________________ Chapter you are filing under:
                                                              
                                                              X   Chapter 7
                                                                 Chapter 11
                                                                 Chapter 12
                                                                 Chapter 13                                                Check if this is an
                                                                                                                               amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        Christopher
                                        __________________________________________________           Amber
                                                                                                     __________________________________________________
                                        First name                                                    First name
       identification (for example,
       your driver’s license or         Antwon
                                        __________________________________________________           L.
                                                                                                     __________________________________________________
       passport).                       Middle name                                                   Middle name

       Bring your picture               Mitchell
                                        __________________________________________________           Mitchell
                                                                                                     __________________________________________________
       identification to your meeting   Last name                                                     Last name
       with the trustee.                ___________________________                                   ___________________________
                                        Suffix (Sr., Jr., II, III)                                    Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________           Amber
                                                                                                     __________________________________________________
      have used in the last 8           First name                                                    First name
      years
                                        __________________________________________________            __________________________________________________
       Include your married or          Middle name                                                   Middle name
       maiden names.                    __________________________________________________           Price
                                                                                                     __________________________________________________
                                        Last name                                                     Last name

                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name

                                        __________________________________________________            __________________________________________________
                                        Middle name                                                   Middle name
                                        __________________________________________________            __________________________________________________
                                        Last name                                                     Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                       1 ____
                                                           3 ____
                                                               5 ____
                                                                  9                                  xxx     – xx – ____
                                                                                                                     9 ____
                                                                                                                         4 ____
                                                                                                                            5 ____
                                                                                                                                9
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1        Christopher Antwon Mitchell
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                         
                                           X I have not used any business names or EINs.                
                                                                                                        X I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           1101 Lockheed Street, Apt B
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                           Bentonville                     AR      72712
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           BENTON
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                           
                                           X Over the last 180 days before filing this petition,        
                                                                                                        X Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        Christopher Antwon Mitchell
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                           
                                           X Chapter 7
                                            Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee             
                                           X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           X No
      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           X No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                      No.     Go to line 12.
      residence?                           
                                           X Yes.    Has your landlord obtained an eviction judgment against you?

                                                     
                                                     X   No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1        Christopher Antwon Mitchell
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


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Debtor 1        Christopher Antwon Mitchell
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             X I received a briefing from an approved credit                    
                                                                                                                X I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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Debtor 1       Christopher Antwon Mitchell
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after X Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                       
                                         X No
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           X 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                      
                                           X $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities            
                                           X $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            /s/Christopher A. Mitchell
                                              ______________________________________________               _____________________________
                                                                                                            /s/Amber L. Mitchell
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          09/27/2019
                                              Executed on _________________                                                09/27/2019
                                                                                                               Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1     Christopher Antwon Mitchell
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        /s/Mark
                                         _________________________________
                                                 D. Drake                                                   Date           _________________
                                                                                                                           09/27/2019
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           Mark D. Drake
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Mark D. Drake, Attorney at Law, PA
                                           _________________________________________________________________________________________________
                                           Firm name

                                           2800 SW 14th Street, Suite 14
                                           _________________________________________________________________________________________________
                                           Number     Street

                                           _________________________________________________________________________________________________

                                           Bentonville
                                           ______________________________________________________ AR
                                                                                                  ____________ 72712
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (479) 464-4440
                                           Contact phone _____________________________________             Email address   mark@drakeattorney.kscoxmail.com
                                                                                                                           ______________________________




                                           84038                                                  AR
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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Fill in this information to identify your case and this filing:


Debtor 1          Christopher            Antwon                Mitchell
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2           Amber                 L.                   Mitchell
                   ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        Western District of Arkansas
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    X    No. Go to Part 2.
        Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                         $________________        $_______________
                                                                     Investment property
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 
                                                                  Debtor 1 only
             _________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


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Debtor 1       Christopher  Antwon           Mitchell
               _______________________________________________________                                 Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes

           Make:                      Chevrolet
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     Tahoe
                                      ______________
                                                                 
                                                                 X Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                      2007
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                      180000                                                                              entire property?          portion you own?
           Approximate mileage:       ____________               At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                9,000.00
                                                                                                                          $________________          9,000.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      Toyota
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     Venza
                                      ______________
                                                                 Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                      2010
                                                                 
                                                                 X Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage:       121223
                                      ____________               At least one of the debtors and another
           Other information:
                                                                                                                           11,711.00                 11,711.00
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




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                   _______________________________________________________                                                       Case number (if known)_____________________________________
                   First Name         Middle Name                Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       20,711.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
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                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X    Yes. Describe. ........          See Attachment 1                                                                                                                                            4,326.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   X    Yes. Describe. ......... 55" Emerson flatscreen TV; TLC 32" TV; Playstation gaming system; 3 smart phones                                                                                    1,500.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   X No
    Yes. Describe. .........                                                                                                                                                                       $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   X No
    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   X    Yes. Describe. ..........Misc. women's clothing and footwear; Misc. men's clothing and footwear                                                                                              600.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   X    Yes. Describe. ..........
                                 diamond engagement and wedding ring                                                                                                                                 700.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X    No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       7,126.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
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Debtor 1            Christopher  Antwon           Mitchell
                    _______________________________________________________                                                                                    Case number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No

 X     Yes .....................................................................................................................................................................    Cash: .......................     37.00
                                                                                                                                                                                                                      $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                             Arvest Bank
                                                                                                 _________________________________________________________                                                             81.38
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              Arvest Bank
                                                                                                  _________________________________________________________                                                            5.68
                                                                                                                                                                                                                      $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       Green Dot Bank
                                                                                                  _________________________________________________________                                                            380.98
                                                                                                                                                                                                                      $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No                                      Name of entity:                                                                                                                         % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                     $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                     $__________________
                                             _____________________________________________________________________                                                                   ___________%                     $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
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Debtor 1           Christopher  Antwon           Mitchell
                   _______________________________________________________                                Case number (if known)_____________________________________
                   First Name            Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________               $__________________
                                         ______________________________________________________________________________________
                                                                                                                                              $__________________
                                         ______________________________________________________________________________________
                                                                                                                                              $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
   
   X   Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   Fidelity Investments
                                                                   ___________________________________________________________________         1,509.30
                                                                                                                                              $__________________

                                         Pension plan:             ___________________________________________________________________        $__________________

                                         IRA:                      ___________________________________________________________________        $__________________

                                         Retirement account:       ___________________________________________________________________        $__________________

                                         Keogh:                    ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

      No
   
   X   Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________         $___________________
                                         Gas:                  ______________________________________________________________________         $___________________
                                         Heating oil:          ______________________________________________________________________         $___________________
                                         Security deposit on rental unit: Frank Giardino
                                                                          _____________________________________________________________        850.00
                                                                                                                                              $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                              $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                              $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                              $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                              $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                              $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________             $__________________
                                         _______________________________________________________________________________________              $__________________
                                         _______________________________________________________________________________________              $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                        page 6
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Debtor 1           Christopher Antwon            Mitchell
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                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X   No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                        Schedule A/B: Property                                                                page 7
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                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
   
   X    Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                     Fidelity Group Life Insurance
                                                                     ___________________________________________ Joint Debtor
                                                                                                                 ____________________________                                                         0.00
                                                                                                                                                                                                     $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X    No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       2,864.34
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
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                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                    0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
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 Debtor 1              Christopher  Antwon           Mitchell
                       _______________________________________________________                                                                        Case number (if known)_____________________________________
                       First Name             Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      0.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    20,711.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               7,126.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           2,864.34
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             30,701.34
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  30,701.34


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        30,701.34
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
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                                                Attachment
                                Debtor: Christopher Antwon Mitchell Case No:


Attachment 1
     washer and dryer, kitchen table with 6 chairs; microwave oven; couch, love seat, coffee table; table lamp; guest bed; dresser, master bed,
     dresser, 2 night stands, 2 table lamps, patio table with umbrella and 4 chairs; charcoal grill, push mower, edger-trimmer
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 Fill in this information to identify your case:

 Debtor 1          Christopher Antwon Mitchell
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2           Amber  L. Mitchell
                    ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: Western District of of
                                                              Arkansas
                                         _____________________________________________
                                          __________ District   __________

 Case number
  (If known)
                     ___________________________________________                                                                           Check if this is an
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
     
     X You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from         Check only one box for each exemption.
                                                          Schedule A/B

                   Cash on hand                                                                                             11 U.S.C. § 522(d)(5)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                                                           37.00
                                                          $________________            
                                                                                       X $ 37.00
                                                                                           ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 16                                                                    any applicable statutory limit
                    ______                                                                                                  ____________________________

                   Checking Account with Arvest                                                                             11 U.S.C. § 522(d)(5)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                   Bank
                                                           81.38
                                                          $________________               81.38
                                                                                       X $ ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 17.1
                    ______                                                                any applicable statutory limit
                                                                                                                            ____________________________
                   Checking Account with Arvest                                                                             11 U.S.C. § 522(d)(5)
                                                                                                                            ____________________________
      Brief
      description: Bank
                                                           5.68
                                                          $________________            
                                                                                       X $ 5.68
                                                                                           ____________                     ____________________________
                       _________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: ______
                    17.2                                                                  any applicable statutory limit
                                                                                                                            ____________________________

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                   page 1 of __
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Debtor 1     Christopher Antwon Mitchell
             _______________________________________________________                         Case number (if known)_____________________________________
             First Name       Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief        Security Deposit on Rental Unit                                                                11 U.S.C. § 522(d)(5)
                                                                                                                 ____________________________
     description: with Frank Giardino
                  _________________________
                                                        850.00
                                                       $________________         850.00
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: 22
                   ______                                                        any applicable statutory limit ____________________________

     Brief        See Attachment 1                                                                                 11 U.S.C. § 522(d)(3)
                                                                                                                   ____________________________
     description: _________________________             4,326.00
                                                       $________________      
                                                                              X $ ____________
                                                                                  4,326.00
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          6
                          ______                                                                                   ____________________________

     Brief        See Attachment 2                                                                                 11 U.S.C. § 522(d)(3)
                                                                                                                   ____________________________
     description: _________________________
                                                        1,500.00
                                                       $________________         1,500.00
                                                                              X $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: 7                                                             any applicable statutory limit    ____________________________
                   ______
                  Misc. women's clothing and                                                                     11 U.S.C. § 522(d)(3)
                                                                                                                 ____________________________
     Brief
     description: footwear
                  _________________________
                                                        300.00
                                                       $________________         300.00
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: 11
                   ______                                                        any applicable statutory limit ____________________________

     Brief        Misc. men's clothing and                                                                         11 U.S.C. § 522(d)(3)
                                                                                                                   ____________________________
                  footwear
     description: _________________________
                                                        300.00
                                                       $________________         300.00
                                                                              X $ ____________
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          11
                          ______                                                                                   ____________________________

                  diamond engagement and                                                                           11 U.S.C. § 522(d)(4)
                                                                                                                   ____________________________
     Brief
                  wedding ring
     description: _________________________
                                                        700.00
                                                       $________________         700.00
                                                                              X $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________
                   12
                  401(k) or Similar Plan with                                                                      11 U.S.C. § 522(b)(3)(C), 11 U.S.C. §
                                                                                                                   ____________________________
     Brief
                  Fidelity Investments
     description: _________________________
                                                        1,509.30
                                                       $________________         1,509.30
                                                                              X $ ____________                     522(d)(12)
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
                   21
     Schedule A/B: ______                                                        any applicable statutory limit ____________________________

     Brief        Other Financial Account with                                                                     11 U.S.C. § 522(d)(5)
                                                                                                                   ____________________________
                  Green Dot Bank
     description: _________________________
                                                        380.98
                                                       $________________         380.98
                                                                              X $ ____________
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          17.6
                          ______                                                                                   ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________

                                                                                                                 ____________________________
     Brief
     description: _________________________            $________________       $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          ______                                                                                   ____________________________

     Brief                                                                                                         ____________________________
     description:                                      $________________       $ ____________                     ____________________________
                    _________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                             2 of __
                                                                                                                                        page ___   2
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                                                Attachment
                                Debtor: Christopher Antwon Mitchell Case No:


Attachment 1
     washer and dryer, kitchen table with 6 chairs; microwave oven; couch, love seat, coffee table; table lamp; guest bed; dresser, master bed,
     dresser, 2 night stands, 2 table lamps, patio table with umbrella and 4 chairs; charcoal grill, push mower, edger-trimmer
Attachment 2
     55" Emerson flatscreen TV; TLC 32" TV; Playstation gaming system; 3 smart phones
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Fill in this information to identify your case:

Debtor 1          Christopher Antwon Mitchell
                  __________________________________________________________________
                    First Name                Middle Name                      Last Name

Debtor 2            Amber  L. Mitchell
                    ________________________________________________________________
(Spouse, if filing) First Name                Middle Name                      Last Name


United States Bankruptcy Court for the: Western District of Arkansas
                                        ______________________________________

Case number         ___________________________________________
(If known)                                                                                                                                               Check if this is an
                                                                                                                                                            amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      
      X    Yes. Fill in all of the information below.


Part 1:         List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1                                                         Describe the property that secures the claim:                   13,901.00
                                                                                                                           $_________________  11,711.00
                                                                                                                                              $________________  2,190.00
                                                                                                                                                                $____________
      Credit Acceptance Company
      ______________________________________
      Creditor’s Name
                                                        2010 Toyota Venza with 121223 miles.
      PO  Box 5070
      ______________________________________
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      Southfield            MI 48086
      ______________________________________                   Unliquidated
      City                   State ZIP Code                    Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                      
                                                            X   An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
   
   X     Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another               Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2                                                         Describe the property that secures the claim:                   9,085.00
                                                                                                                           $_________________  9,000.00
                                                                                                                                              $________________  85.00
                                                                                                                                                                $____________
      Credit Cars of NWA
      ______________________________________
      Creditor’s Name
                                                        2007 Chevrolet Tahoe with 180000 miles.
      3302 S Walton Blvd.
      ______________________________________
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      Bentonville           AR 72712
      ______________________________________                   Unliquidated
      City                   State ZIP Code                    Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   
   X     Debtor 1 only                                      
                                                            X   An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
        Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another               Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                22,986.00
                                                                                                                           $_________________


  Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                                                 1
                                                                                                                                                              page 1 of ___
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 Fill in this information to identify your case:

 Debtor 1             Christopher           Antwon                Mitchell
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2              Amber                 L.                    Mitchell
                       ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


 United States Bankruptcy Court for the: Western District of Arkansas
                                         ______________________________________
                                                                                                                                                      Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
        
        X Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
         State of Kansas
         ____________________________________________                                                  9 ___
                                                                      Last 4 digits of account number ___ 6 ___
                                                                                                             0 ___
                                                                                                                1                 4,569.30
                                                                                                                                 $_____________  4,569.30 $____________
                                                                                                                                                $___________ 0.00
         Priority Creditor’s Name

         Shawnee County District Attorney
         ____________________________________________                 When was the debt incurred?          9/30/2010
                                                                                                           ____________
         Number             Street
         200 SE 7th Street, Room 214
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.
         Topeka                KS      66603-3971
         ____________________________________________                    Contingent
         City                                State      ZIP Code
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
         
         X      Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
                                                                         Domestic support obligations
               At least one of the debtors and another
                                                                      
                                                                      X   Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
         
         X No                                                            Other. Specify _________________________________
          Yes
2.2      State of Kansas                                                                               5 ___
                                                                                                          6 ___
                                                                                                             8 ___
                                                                                                                3
         ____________________________________________                 Last 4 digits of account number ___                             324.55
                                                                                                                                     $_____________  324.55
                                                                                                                                                    $___________  0.00
                                                                                                                                                                 $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          06/01/2010
                                                                                                           ____________
         Shawnee County District Attorney
         ____________________________________________
         Number             Street
         200 SE 7th Street, Room 214
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         Topeka                KS      66603-3971
         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
         
         X      Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                      
                                                                      X   Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
         
         X      No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     13
                                                                                                                                                          page 1 of ___
Debtor 1
                  5:19-bk-72647
                    Christopher         Doc#: 1 Filed:
                                      Antwon                  09/27/19 Entered: 09/27/19
                                                         Mitchell
                    _______________________________________________________
                                                                                            12:24:37 Page 24 of 89
                                                                                  Case number (if known)_____________________________________
                    First Name    Middle Name          Last Name



 Part 1:           Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                           Total claim   Priority     Nonpriority
                                                                                                                                                amount       amount

2.3
      State of Kansas
      ____________________________________________                                                  0 ___
                                                                   Last 4 digits of account number ___ 7 ___ 1
                                                                                                          6 ___                    186.49
                                                                                                                                  $____________  186.49
                                                                                                                                                $__________  0.00
                                                                                                                                                            $____________
      Priority Creditor’s Name

      Shawnee County District Attorney
      ____________________________________________                 When was the debt incurred?         01/04/2011
                                                                                                       ____________
      Number             Street

      200 SE 7th Street, Room 214
      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      Topeka                KS      66603-3971
      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
      
      X      Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                   
                                                                   X   Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
            Check if this claim is for a community debt               intoxicated
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
      
      X      No
            Yes

2.4
      State of Kansas
      ____________________________________________                                                  0 ___
                                                                   Last 4 digits of account number ___ 7 ___
                                                                                                          1 ___
                                                                                                             9                     1,716.22
                                                                                                                                  $____________  1,716.22 $____________
                                                                                                                                                $__________ 0.00
      Priority Creditor’s Name

      Shawnee County District Attorney
      ____________________________________________                 When was the debt incurred?         3/12/2012
                                                                                                       ____________
      Number             Street

      200 SE 7th Street, Room 214
      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      Topeka                KS      66603-3971
      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
      
      X      Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                   
                                                                   X   Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
            Check if this claim is for a community debt               intoxicated
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
      
      X      No
            Yes
2.5
      ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                 When was the debt incurred?         ____________
      Number             Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

      ____________________________________________
                                                                      Contingent
      City                                State   ZIP Code            Unliquidated
                                                                      Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
            Check if this claim is for a community debt               intoxicated
                                                                      Other. Specify _________________________________

      Is the claim subject to offset?
            No
            Yes


  Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       2 of ___
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Debtor 1
               5:19-bk-72647
                 Christopher         Doc#: 1 Filed:
                                   Antwon                  09/27/19 Entered: 09/27/19
                                                      Mitchell
                 _______________________________________________________
                                                                                         12:24:37 Page 25 of 89
                                                                               Case number (if known)_____________________________________
                    First Name       Middle Name         Last Name


  Part 2:          List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
4.1
       Acceptance Now
       _____________________________________________________________              Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                        283.00
                                                                                                                                                         $__________________
                                                                                 When was the debt incurred?           ____________
       5501 Headquarters Drive
       _____________________________________________________________
       Number              Street

       Plano                          TX      75024
       _____________________________________________________________
       City                                             State        ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                                    Contingent
       Who incurred the debt? Check one.                                            Unliquidated
             Debtor 1 only                                                         Disputed
             Debtor 2 only
       
       X      Debtor 1 and Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                               Student loans

             Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?                                              Debts to pension or profit-sharing plans, and other similar debts
       
       X      No                                                                 
                                                                                 X   Other. Specify Personal Loan
                                                                                                    ______________________________________
             Yes

4.2                                                                                                               1 ___
                                                                                 Last 4 digits of account number ___ 9 ___
                                                                                                                        5 2___                            1,253.21
                                                                                                                                                         $__________________
       Advantage Recovery Services, Inc.
       _____________________________________________________________
       Nonpriority Creditor’s Name                                               When was the debt incurred?           04/2017
                                                                                                                       ____________
       PO Box 1707
       _____________________________________________________________
       Number              Street
                                                                                 As of the date you file, the claim is: Check all that apply.
       Fort Smith                     AR      72902-1707
       _____________________________________________________________
       City                                             State        ZIP Code
                                                                                    Contingent
       Who incurred the debt? Check one.                                            Unliquidated

       
       X      Debtor 1 only
                                                                                    Disputed

             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                               Student loans
                                                                                    Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                            that you did not report as priority claims
       Is the claim subject to offset?                                              Debts to pension or profit-sharing plans, and other similar debts

       
       X      No                                                                 
                                                                                 X   Other. Specify Bank service charges
                                                                                                    ______________________________________

             Yes

4.3
       AT&T Wireless
       _____________________________________________________________             Last 4 digits of account number ___ ___ ___ ___
                                                                                                                                                          1,600.00
       Nonpriority Creditor’s Name                                                                                                                       $_________________
                                                                                 When was the debt incurred?           ____________
       Attn: Bankruptcy Dept. 4331 Communications Drive, Floor 4W
       _____________________________________________________________
       Number              Street

       Dallas                         TX      75211
       _____________________________________________________________             As of the date you file, the claim is: Check all that apply.
       City                                             State        ZIP Code

                                                                                    Contingent
       Who incurred the debt? Check one.
                                                                                    Unliquidated
             Debtor 1 only
                                                                                    Disputed
             Debtor 2 only
       
       X      Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                                    Student loans
             Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
       
       X      No
                                                                                 
                                                                                 X   Other. Specify Cell phone account and phone purchases
                                                                                                    ______________________________________
             Yes




  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                        3 of ___
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Debtor 1
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                                      Antwon                  09/27/19 Entered: 09/27/19
                                                         Mitchell
                    _______________________________________________________
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                                                                                  Case number (if known)_____________________________________
                    First Name      Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.4                                                                                                                 5 ___
                                                                                   Last 4 digits of account number ___ 1 ___
                                                                                                                          0 ___
                                                                                                                             7
      Benton Emergency Group, LLC
      _____________________________________________________________                                                                                         543.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          12/2018
                                                                                                                        ____________
      PO Box 2995
      _____________________________________________________________
      Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      San Antonio                    TX      78299-2995
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
      
      X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Medical Services
                                                                                       Other. Specify________________________________
      
      X      No
            Yes



4.5
                                                                                                                    0 ___
                                                                                   Last 4 digits of account number ___ 8 ___
                                                                                                                          1 ___
                                                                                                                             7                              179.00
                                                                                                                                                           $____________
      Capital One Bank USA, NA
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 30281
      _____________________________________________________________
      Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Salt Lake City                 UT      84130
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                         121.00
                                                                                                                                                           $____________
                                                                                                                    5 ___
                                                                                   Last 4 digits of account number ___ 7 ___
                                                                                                                          0 ___
                                                                                                                             4
      Capital One Bank USA, NA
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 30281
      _____________________________________________________________
      Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Salt Lake City                 UT          84130
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
      
      X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    4 of ___
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Debtor 1
                  5:19-bk-72647
                    Christopher         Doc#: 1 Filed:
                                      Antwon                  09/27/19 Entered: 09/27/19
                                                         Mitchell
                    _______________________________________________________
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                                                                                  Case number (if known)_____________________________________
                    First Name      Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.7                                                                                                                 6 ___
                                                                                   Last 4 digits of account number ___ 3 ___
                                                                                                                          8 ___
                                                                                                                             0
      Capital One Bank USA, NA
      _____________________________________________________________                                                                                         185.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 30281
      _____________________________________________________________
      Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Salt Lake City                 UT      84130
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes



4.8
                                                                                                                    0 ___
                                                                                   Last 4 digits of account number ___ 4 ___
                                                                                                                          4 ___
                                                                                                                             3                              380.00
                                                                                                                                                           $____________
      Cash USA
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      3315 E Russel Road, Suite A-4 Box 105
      _____________________________________________________________
      Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Las Vegas                      NV      89120
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Personal Loan
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                         280.00
                                                                                                                                                           $____________
                                                                                                                    2 ___
                                                                                   Last 4 digits of account number ___ 3 ___
                                                                                                                          1 ___
                                                                                                                             4
      Centerpoint Energy
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 4583
      _____________________________________________________________
      Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Houston                        TX          77210-4583
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 utility account
                                                                                       Other. Specify________________________________
      
      X      No
            Yes




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Debtor 1
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                                       Antwon                  09/27/19 Entered: 09/27/19
                                                          Mitchell
                     _______________________________________________________
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                                                                                   Case number (if known)_____________________________________
                     First Name      Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.10                                                                                                                 3 ___
                                                                                    Last 4 digits of account number ___ 8 ___
                                                                                                                           9 ___
                                                                                                                              0
       Commonwealth Financial Systems
       _____________________________________________________________                                                                                         862.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          07/2019
                                                                                                                         ____________
       120 N Keyser Av.
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Scranton                       PA      18504
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.11
                                                                                                                     1 ___
                                                                                    Last 4 digits of account number ___ 0 ___
                                                                                                                           0 ___
                                                                                                                              7                              219.17
                                                                                                                                                            $____________
       Cox Communications
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       PO Box 248871
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Oklahoma City                  OK      73124-8871
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 utilities
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.12                                                                                                                                                         4,000.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Credit Cars of NWA
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       3302 S Walton Blvd.
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Bentonville                    AR          72712
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 balance due after repossession of
                                                                                        Other. Specify________________________________           vehicle
       
       X      No
             Yes




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Debtor 1
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                                       Antwon                  09/27/19 Entered: 09/27/19
                                                          Mitchell
                     _______________________________________________________
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                                                                                   Case number (if known)_____________________________________
                     First Name      Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.13                                                                                Last 4 digits of account number ___ ___ ___ ___
       Great Southern Bank
       _____________________________________________________________                                                                                         3,125.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       1451 E Battlefield
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Springfield                    MO      65804
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Personal Loan
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.14
                                                                                                                     2 ___
                                                                                    Last 4 digits of account number ___ 3 ___
                                                                                                                           3 ___
                                                                                                                              0                              290.00
                                                                                                                                                            $____________
       Green Stream Lending
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       PO Box 1120
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Boulevard                      CA      91905
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Personal Loan
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.15                                                                                                                                                         548.00
                                                                                                                                                            $____________
                                                                                                                     3 ___
                                                                                    Last 4 digits of account number ___ 1 ___
                                                                                                                           7 ___
                                                                                                                              0
       Medical Data Systems, Inc.
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          12/2016
                                                                                                                         ____________
       1374 S Babcock Street
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Melbourne                      FL          32901
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    7 of ___
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Debtor 1
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                                       Antwon                  09/27/19 Entered: 09/27/19
                                                          Mitchell
                     _______________________________________________________
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                                                                                   Case number (if known)_____________________________________
                     First Name      Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.16                                                                                                                 3 ___
                                                                                    Last 4 digits of account number ___ 1 ___
                                                                                                                           7 ___
                                                                                                                              0
       Northwest Medical Center
       _____________________________________________________________                                                                                         548.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          12/2016
                                                                                                                         ____________
       3000 SE Medical Center Parkway
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Bentonville                    AR      72712
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.17
                                                                                                                     3 ___
                                                                                    Last 4 digits of account number ___ 5 ___
                                                                                                                           5 ___
                                                                                                                              0                              6,295.90
                                                                                                                                                            $____________
       Progressive Car Finance, LLC
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       PO Box 2101
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Lowell                         AR      72745
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
       
       X      Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 balance after repossession of vehicle
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.18                                                                                                                                                         1,300.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Progressive Finance
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          4/30/2018
                                                                                                                         ____________
       11629 South 700 East
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Draper                         UT          84020
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    8 of ___
                                                                                                                                                            page __   13
Debtor 1
                   5:19-bk-72647
                     Christopher         Doc#: 1 Filed:
                                       Antwon                  09/27/19 Entered: 09/27/19
                                                          Mitchell
                     _______________________________________________________
                                                                                             12:24:37 Page 31 of 89
                                                                                   Case number (if known)_____________________________________
                     First Name      Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.19                                                                                                                 5 ___
                                                                                    Last 4 digits of account number ___ 0 ___ ___
       South Arkansas Physicians
       _____________________________________________________________                                                                                         212.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       PO Box 602162
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Charlotte                      NC      28260-2162
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.20
                                                                                                                     2 ___
                                                                                    Last 4 digits of account number ___ 1 ___
                                                                                                                           7 ___
                                                                                                                              7                              300.00
                                                                                                                                                            $____________
       The Bank of Missouri
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       Attn: Bankruptcy Dept. PO Box 309
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Perryville                     MO      63775
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.21                                                                                                                                                         138.00
                                                                                                                                                            $____________
                                                                                                                     2 ___
                                                                                    Last 4 digits of account number ___ 5 ___
                                                                                                                           7 ___
                                                                                                                              5
       Webbank/Fingerhut
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       6250 Ridgewood Road
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Saint Cloud                    MN          56303
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    9 of ___
                                                                                                                                                            page __   13
Debtor 1
                   5:19-bk-72647
                     Christopher         Doc#: 1 Filed:
                                       Antwon                  09/27/19 Entered: 09/27/19
                                                          Mitchell
                     _______________________________________________________
                                                                                             12:24:37 Page 32 of 89
                                                                                   Case number (if known)_____________________________________
                     First Name      Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.22                                                                                Last 4 digits of account number ___ ___ ___ ___
       World Acceptance Corp.
       _____________________________________________________________                                                                                         420.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       2246 Highway 412
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Colcord                        OK      74338
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Personal Loan
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.23
                                                                                    Last 4 digits of account number ___ ___ ___ ___                         $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
             No
             Yes


4.24                                                                                                                                                        $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       _____________________________________________________________
       Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
             No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 10    13
                                                                                                                                                                 __ of ___
Debtor 1
            5:19-bk-72647
              Christopher         Doc#: 1 Filed:
                                Antwon                  09/27/19 Entered: 09/27/19
                                                   Mitchell
              _______________________________________________________
                                                                                      12:24:37 Page 33 of 89
                                                                            Case number (if known)_____________________________________
               First Name    Middle Name           Last Name



Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Butler & Associates, PA
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     3706 SW Topeka Blvd.
     _____________________________________________________
                                                                          Line 2.1
                                                                               _____ of (Check one):   
                                                                                                       X Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
     Suite 300
     _____________________________________________________
                                                                                                           9 ___
                                                                          Last 4 digits of account number ___ 6 ___
                                                                                                                 0 ___
                                                                                                                    1
     Topeka, Kansas 66609-1291
     _____________________________________________________
     City                                  State               ZIP Code


     Butler & Associates, PA
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     3706 SW Topeka Blvd
     _____________________________________________________
                                                                          Line 2.2
                                                                               _____ of (Check one):   
                                                                                                       X Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                        Part 2: Creditors with Nonpriority Unsecured
     Suite 300
     _____________________________________________________                Claims

     Topeka, Kansas 66609-1291
     _____________________________________________________                                                 5 ___
                                                                          Last 4 digits of account number ___ 6 ___
                                                                                                                 8 ___
                                                                                                                    3
     City                                  State               ZIP Code


     Butler & Associates, PA
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     3706 SW Topeka Blvd.
     _____________________________________________________
                                                                          Line 2.3
                                                                               _____ of (Check one):   
                                                                                                       X Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     Suite 300
     _____________________________________________________
                                                                          Claims

     Topeka, Kansas 66609-1291
     _____________________________________________________                                                 0 ___
                                                                          Last 4 digits of account number ___ 7 ___
                                                                                                                 6 ___
                                                                                                                    1
     City                                  State               ZIP Code

     Butler & Associates, PA
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     3706  SW Topeka Blvd.
     _____________________________________________________
                                                                          Line 2.4
                                                                               _____ of (Check one):   
                                                                                                       X Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     Suite 300
     _____________________________________________________
                                                                          Claims

     Topeka,  Kansas 66609-1291
     _____________________________________________________                                                 0 ___
                                                                          Last 4 digits of account number ___ 7 ___
                                                                                                                 1 ___
                                                                                                                    9
     City                                  State               ZIP Code


     Daily & Woods, PLLC
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     PO Box 1446
     _____________________________________________________
                                                                          Line 4.2
                                                                               _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       X Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     Fort Smith, Arkansas 72902-1446
     _____________________________________________________                                                 1 ___
                                                                          Last 4 digits of account number ___ 9 ___
                                                                                                                 5 ___
                                                                                                                    2
     City                                  State               ZIP Code

     Phoenix Financial Services LLC
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     PO Box 361450
     _____________________________________________________
                                                                          Line 4.4
                                                                               _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       X Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     Indianapolis, Indiana 46236-1450
     _____________________________________________________                                                 5 ___
                                                                          Last 4 digits of account number ___ 1 ___
                                                                                                                 0 ___
                                                                                                                    7
     City                                  State               ZIP Code

     Afni, Inc
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     PO  Box 3517
     _____________________________________________________                Line 4.11
                                                                               _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                       
                                                                                                       X Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                Claims
     Bloomington, Illinois 61702-3517
     _____________________________________________________                                                 1 ___
                                                                                                              0 ___
                                                                                                                 0 ___
                                                                                                                    7
     City                                  State               ZIP Code
                                                                          Last 4 digits of account number ___


  Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              page 11    13
                                                                                                                                                        __ of ___
Debtor 1
            5:19-bk-72647
              Christopher         Doc#: 1 Filed:
                                Antwon                  09/27/19 Entered: 09/27/19
                                                   Mitchell
              _______________________________________________________
                                                                                      12:24:37 Page 34 of 89
                                                                            Case number (if known)_____________________________________
               First Name    Middle Name           Last Name



Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     I. C. System, Inc
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     PO Box 45950
     _____________________________________________________
                                                                          Line 4.11
                                                                               _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       X Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                                                           1 ___
                                                                          Last 4 digits of account number ___ 0 ___
                                                                                                                 0 ___
                                                                                                                    7
     Omaha, Nebraska 68145-0950
     _____________________________________________________
     City                                  State               ZIP Code


     Medical Data Systems, Inc.
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     2001 9th Av, Suite 312
     _____________________________________________________
                                                                          Line 4.16
                                                                               _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                       
                                                                                                       X Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                Claims

     Vero Beach, Florida 32960
     _____________________________________________________                                                 3 ___
                                                                          Last 4 digits of account number ___ 1 ___
                                                                                                                 7 ___
                                                                                                                    0
     City                                  State               ZIP Code


     Jeffrey Reynerson
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     Attorney at Law
     _____________________________________________________
                                                                          Line 4.17
                                                                               _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       X Part 2: Creditors with Nonpriority Unsecured
     4700 S Thompson St, Suite B-102
     _____________________________________________________
                                                                          Claims

     Springdale, Arkansas 72764
     _____________________________________________________                                                 3 ___
                                                                          Last 4 digits of account number ___ 5 ___
                                                                                                                 5 ___
                                                                                                                    0
     City                                  State               ZIP Code

     Phoenix Financial Services LLC
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     PO  Box 361450
     _____________________________________________________
                                                                          Line 4.19
                                                                               _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       X Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     Indianapolis, Indiana 46236-1450
     _____________________________________________________                                                 5 ___
                                                                          Last 4 digits of account number ___ 0 ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                        Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                Claims

     _____________________________________________________
     City                                  State               ZIP Code
                                                                          Last 4 digits of account number ___ ___ ___ ___


  Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              page 12    13
                                                                                                                                                        __ of ___
Debtor 1
           5:19-bk-72647
             Christopher         Doc#: 1 Filed:
                               Antwon                  09/27/19 Entered: 09/27/19
                                                  Mitchell
             _______________________________________________________
                                                                                     12:24:37 Page 35 of 89
                                                                           Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.      0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.      6,796.56
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.      0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                        0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                        6,796.56
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             0.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        23,082.28


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         23,082.28
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                               page 13    13
                                                                                                                                           __ of ___
               5:19-bk-72647 Doc#: 1 Filed: 09/27/19 Entered: 09/27/19 12:24:37 Page 36 of 89


 Fill in this information to identify your case:

 Debtor               Christopher Antwon Mitchell
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              Amber   L. Mitchell
                       ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        Western District of Arkansas
 United States Bankruptcy Court for the:______________________________________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      X    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1                                                                                     Lease to purchase contract for couch and love seat
      Acceptance Now
      _____________________________________________________________________
      Name
      5501 Headquarters Drive
      _____________________________________________________________________
      Number     Street
      Plano Texas 75024
      _____________________________________________________________________
      City                         State   ZIP Code

2.2                                                                                     residential lease of 1101 Lockheed Street, Apt.B, Bentonville,
      Frank and Kay Giardino
      _____________________________________________________________________
      Name                                                                              AR 72712
      12924 Shark Lane
      _____________________________________________________________________
      Number     Street
      Bentonville Arkansas 72730-2716
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
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 Fill in this information to identify your case:

 Debtor 1         Christopher  Antwon Mitchell
                  __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             Amber L. Mitchell
                      ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        Western District of Arkansas
 United States Bankruptcy Court for the:_______________________________________

 Case number          ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      X    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                     1
                                                                                                                                                 page 1 of ___
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 Fill in this information to identify your case:


 Debtor 1           Christopher  Antwon Mitchell
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2           Amber   L. Mitchell
                    ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                               Western District of Arkansas
 United States Bankruptcy Court for the: ___________________________________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                   
                                                                                                                    X Employed
     employers.                                                         Not employed                               FillNot
                                                                                                                          outemployed
                                                                                                                             this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Machine attendant
                                                                      __________________________________          Press operator
                                                                                                                  __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            Preformed  Line Products
                                                                     __________________________________           Comet  Cleaners
                                                                                                                  __________________________________


                                          Employer’s address        2740 S 1st Street
                                                                   ________________________________________      1406 S Walton Blvd, #18
                                                                                                                ________________________________________
                                                                     Number Street                                Number   Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                    Rogers, AR 72758
                                                                   ________________________________________      Bentonville, AR 72712
                                                                                                                ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         2_______
                                                                             years                                 1_______
                                                                                                                     year

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.     3,435.46                 2,000.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                0.00              + $____________
                                                                                                                     0.00

  4. Calculate gross income. Add line 2 + line 3.                                       4.     3,435.46
                                                                                              $__________               2,000.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                           page 1
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Debtor 1          Christopher Antwon Mitchell
                  _______________________________________________________                                                   Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.      3,435.46
                                                                                                                            $___________            2,000.00
                                                                                                                                                   $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.      672.20
                                                                                                                           $____________            278.32
                                                                                                                                                   $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      161.09
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      19.54
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5e. Insurance                                                                                                5e.      195.18
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                             0.00               + $_____________
                                                                                                                                                   0.00
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.      1,048.01
                                                                                                                           $____________            278.32
                                                                                                                                                   $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.      2,387.45
                                                                                                                           $____________            1,721.68
                                                                                                                                                   $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                               0.00                    0.00
                                                                                                                           $____________           $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                           0.00                    0.00
                                                                                                                           $____________           $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8e. Social Security                                                                                          8e.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                            0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             0.00                + $_____________
                                                                                                                                                    0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

 10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                            2,387.45
                                                                                                                           $___________     +       1,721.68
                                                                                                                                                   $_____________           4,109.13
                                                                                                                                                                         = $_____________
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
              None
     Specify: _______________________________________________________________________________                                                                             0.00
                                                                                                                                                                   11. + $_____________

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.      4,109.13
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X     No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
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 Fill in this information to identify your case:

 Debtor 1          Christopher Antwon Mitchell
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            Amber   L. Mitchell
                     ________________________________________________________________
                                                                                                       An amended filing
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       A supplement showing post-petition chapter 13
                                               Western District of Arkansas
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

        No. Go to line 2.
   
   X     Yes. Does Debtor 2 live in a separate household?

                 
                 X   No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’                                                    child                                       10                No
                                                                                    _________________________                   ________
    names.                                                                                                                                    
                                                                                                                                              X    Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   700.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      0.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      0.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
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Debtor 1         Christopher  Antwon Mitchell
                 _______________________________________________________                  Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     129.66
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     88.71
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     288.47
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      862.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      66.66
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      169.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     76.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     165.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      420.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     0.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                   16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    264.66
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.    487.58
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    369.40
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.    0.00
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



  Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
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Debtor 1         Christopher  Antwon Mitchell
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                          21.     0.00
                                                                                                                        +$_____________________

22.    Calculate your monthly expenses.                                                                                   4,087.14
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.     4,087.14
                                                                                                                         $_____________________



23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.
                                                                                                                           4,109.13
                                                                                                                          $_____________________

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           4,087.14

      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                              23c.
                                                                                                                           21.99
                                                                                                                          $_____________________




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X   No.
         Yes.      Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
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 Fill in this information to identify your case:

 Debtor 1          Christopher  Antwon Mitchell
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            Amber   L. Mitchell
                     ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the: Western District of Arkansas
                                         ______________________________________

 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 30,701.34
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 30,701.34
                                                                                                                                                                            ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 22,986.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 6,796.56
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +   $ 23,082.28
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 52,864.84
                                                                                                                                                                            ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 4,109.13
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                    $ 4,087.14
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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Debtor 1         Christopher Antwon Mitchell
                 _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X Yes

7. What kind of debt do you have?

    
    X Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ 5,435.46
                                                                                                                                         _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            6,796.56
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            0.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                     6,796.56
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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Fill in this information to identify your case:

Debtor 1          Christopher Antwon Mitchell
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            Amber L. Mitchell
                    ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


United States Bankruptcy Court for the: Western District of Arkansas
                                        _______________________________________
Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    /s/Christopher A. Mitchell
          ______________________________________________             
                                                                      _____________________________
                                                                      /s/Amber L. Mitchell
         Signature of Debtor 1                                             Signature of Debtor 2


         Date 09/27/2019
              _________________                                            Date 09/27/2019
                                                                                _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
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 Fill in this information to identify your case:

 Debtor 1          Christopher             Antwon                 Mitchell
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            Amber                  L.                    Mitchell
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: Western  District of Arkansas
                                         ____________________________________________

 Case number         ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


      
      X Married
       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     X     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1      Debtor 2:                                              Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     Same as Debtor 1                                       Same as Debtor 1

               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
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Debtor 1        Christopher Antwon Mitchell
                _______________________________________________________                                  Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income           Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                         exclusions)                                          exclusions)


            From January 1 of current year until
                                                            
                                                            X    Wages, commissions,                              
                                                                                                                  X   Wages, commissions,
                                                                 bonuses, tips            34,240.84
                                                                                         $________________            bonuses, tips            13,861.86
                                                                                                                                              $________________
            the date you filed for bankruptcy:
                                                                Operating a business                                Operating a business


            For last calendar year:                         
                                                            X    Wages, commissions,                              
                                                                                                                  X   Wages, commissions,
                                                                 bonuses, tips            37,163.19
                                                                                         $________________            bonuses, tips            18,607.00
                                                                                                                                              $________________
            (January 1 to December 31, 2018
                                       _________)               Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:
                                                            
                                                            X    Wages, commissions,                              
                                                                                                                  X   Wages, commissions,
                                                                 bonuses, tips                                        bonuses, tips
                                                                                          27,669.00
                                                                                         $________________                                     18,862.00
                                                                                                                                              $________________
            (January 1 to December 31, 2017
                                       _________)               Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     X     No
          Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income          Gross income from
                                                            Describe below.              each source               Describe below.            each source
                                                                                         (before deductions and                               (before deductions and
                                                                                         exclusions)                                          exclusions)


                                                          __________________            $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:            __________________            $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
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Debtor 1       Christopher Antwon Mitchell
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6, 825* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

 
  X        Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

               
               X    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      Credit Cars of NWA
                      ____________________________________            09/13/19
                                                                     _________       1,575.00
                                                                                    $_________________  9,085.00
                                                                                                       $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                        
                                                                                                                                        X Car
                      3302 S Walton Blvd.
                      ____________________________________            08/30/19
                                                                     _________
                      Number    Street                                                                                                   Credit card
                                                                      08/16/19
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      Bentonville AR 72712
                      ____________________________________
                      City                    State       ZIP Code
                                                                     See Attachment 1                                                    Other ____________


                      Credit Acceptance Company
                      ____________________________________            09/11/19
                                                                     _________       1,108.20
                                                                                    $_________________  13,901.00
                                                                                                       $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                        
                                                                                                                                        X Car
                      PO Box 5070
                      ____________________________________            08/12/19
                                                                     _________                                                           Credit card
                      Number    Street

                                                                                                                                         Loan repayment
                      ____________________________________            07/11/19
                                                                     _________
                                                                                                                                         Suppliers or vendors
                      Southfield MI 48086
                      ____________________________________                                                                               Other ____________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
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Debtor 1           Christopher Antwon Mitchell
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
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Debtor 1        Christopher Antwon Mitchell
                _______________________________________________________                                         Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X     Yes. Fill in the details.
                                                                    Nature of the case                    Court or agency                                 Status of the case

                                                                  debt collection
                                                                                                         Circuit Court of Benton County, AR
                                                                                                         ________________________________________        
                      Progressive Car Finance,
            Case title_____________________________                                                      Court Name
                                                                                                                                                             Pending

                                                                                                                                                            On appeal
            LLC  vs. Christopher A. Mitchell
            ____________________________________                                                         102 NE "A" Street
                                                                                                         ________________________________________
                                                                                                         Number    Street                                
                                                                                                                                                         X   Concluded

            Case number 04CV-18-2098
                        ________________________                                                         Bentonville AR 72712
                                                                                                         ________________________________________
                                                                                                         City                   State   ZIP Code

                                                                  debt collection
                                                                                                         District Court of Benton County, AR
                                                                                                         ________________________________________           Pending
                      Advantage Recovery
            Case title_____________________________                                                      Court Name
                                                                                                                                                            On appeal
            Systems  vs. Christopher Mitchell
            ____________________________________                                                         2706  South Walton Blvd.
                                                                                                         ________________________________________
                                                                                                         Number    Street                                
                                                                                                                                                         X   Concluded

            Case number CIV-2017-474
                        ________________________                                                         Bentonville AR 72712
                                                                                                         ________________________________________
                                                                                                         City                   State   ZIP Code
                                                                                                                                           See Attachment 2
 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

          No. Go to line 11.
     
     X     Yes. Fill in the information below.

                                                                              Describe the property                                      Date          Value of the property

                                                                            wages garnished
                 State of Kansas
                 _________________________________________                                                                               See
                                                                                                                                         __________      1,122.68
                                                                                                                                                        $______________
                 Creditor’s Name


                 Shawnee   County District Attorney
                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                   Property was repossessed.
                 200 SE 7th Street, Room 214
                 _________________________________________
                                                                                   Property was foreclosed.
                                                                              
                                                                              X     Property was garnished.
                 Topeka   KS 66603-3971
                 _________________________________________
                 City                               State   ZIP Code               Property was attached, seized, or levied.

                                                                              Describe the property                                      Date           Value of the property

                                                                            wages garnished

                 Progressive Car Finance, LLC
                 _________________________________________
                                                                                                                                        See
                                                                                                                                        __________       1,573.56
                                                                                                                                                        $______________
                 Creditor’s Name


                 PO  Box 2101
                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                         Property was repossessed.
                                                                                   Property was foreclosed.
                 Lowell  AR 72745
                 _________________________________________                    
                                                                              X     Property was garnished.                                        See Attachment 5
                 City                               State   ZIP Code
                                                                                   Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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Debtor 1          Christopher Antwon Mitchell
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X     No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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Debtor 1           Christopher Antwon Mitchell
                   _______________________________________________________                                       Case number (if known)_____________________________________
                   First Name     Middle Name                Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X     No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                     Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                     contributed



           _____________________________________                                                                                          _________           $_____________
           Charity’s Name


           _____________________________________                                                                                          _________           $_____________


           _____________________________________



           _____________________________________
           City           State        ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X     No
          Yes. Fill in the details.

            Describe the property you lost and how                   Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                                 lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule A/B: Property.


                                                                                                                                          _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X     Yes. Fill in the details.

                                                                     Description and value of any property transferred                    Date payment or     Amount of payment
            See Attachment 6                                                                                                              transfer was made
            ___________________________________
            Person Who Was Paid

            2800  SW 14th Street, Suite 14
            ___________________________________
            Number       Street
                                                                                                                                          09/11/19
                                                                                                                                          _________            400.00
                                                                                                                                                              $_____________

            ___________________________________
                                                                                                                                          09/13/19
                                                                                                                                          _________            200.00
                                                                                                                                                              $_____________
            Bentonville AR 72712
            ___________________________________
            City                         State    ZIP Code
                                                                                                                                          See Attachment 7
            See   Attachment 8
            ____________________________________________
            Email or website address
            Debtor
            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
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Debtor 1           Christopher Antwon Mitchell
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
          No
     
     X     Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            Credit Cars of NWA
            ___________________________________
            Person Who Received Transfer                         traded in a 2009 Chevrolet Impala 3100.00
            3302  S Walton Blvd.                                 valued at $3100.00 towards the                                                               07/2019
                                                                                                                                                              _________
            ___________________________________
            Number       Street                                  purchase of a 2007 Chevrolet
            ___________________________________                  Tahoe
            Bentonville AR 72712
            ___________________________________
            City                        State    ZIP Code


                                         See 9
            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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Debtor 1           Christopher Antwon Mitchell
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     X     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     X     No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                               
                                                                                                                                                               X   No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1            Christopher Antwon Mitchell
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    X      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________                                                               
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     X   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     X     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



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Debtor 1           Christopher Antwon Mitchell
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     X     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                         _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     X     No
          Yes. Fill in the details.
                                                                                                                                                                         Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                         case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                          Pending
           ______________________________________
                                                                                                                                                                          On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                              ________________________________
                                                                    City                        State   ZIP Code
                                                                                                                                                                         

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     X     No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________
                                                                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code


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Debtor 1           Christopher Antwon Mitchell
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                            Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                            From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X     No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      /s/Christopher A. Mitchell
            ______________________________________________                        /s/Amber
                                                                                   _____________________________
                                                                                            L. Mitchell
            Signature of Debtor 1                                                    Signature of Debtor 2


                 09/27/2019
            Date ________________                                                    Date 09/27/2019
                                                                                          _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




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                                                Attachment
                                Debtor: Christopher Antwon Mitchell Case No:


Attachment 1
     Additional Payments Benefiting : August 2, 2019; July 19, 2019; July 5, 2019; June 21, 2019
Attachment 2 Additional Lawsuits, Court Actions, or Administrative Proceedings
     Case Title: Credit Cars of NWA vs. Amber Mitchell
     Case Number: SC2019-21
     Nature of Case: debt collection
     Court or Agency’s Name: District Court of Benton County, AR
     Court or Agency’s Address: 2706 S Walton Blvd., Bentonville, AR 72712
     Status of Case: Concluded

Attachment 3
     08/30/2019; 08/16/2019; 08/02/2019;
Attachment 4
     07/03/2019; 06/21/2019; 06/07/2019; 05/24/2019
Attachment 5 Additional Property Repossessed, Foreclosed, Garnished, Etc.
     Creditor’s Name: Credit Cars of NWA
     Creditor’s Address: 3302 S Walton Blvd., Bentonville, Arkansas 72712
     Property Description: 2010 Dodge Charger
     The Property Was: Repossessed
     Date of Action:07/02/2018
     Value: $4,000.00

Attachment 6
     Mark D. Drake, Attorney at Law, PA
Attachment 7
     Additional Transfers to Mark D. Drake, Attorney at Law, PA
     Date of Transfer: September 20, 2019
     Value of Transfer: $735.00
Attachment 8
     mark@drakeattorney.kscoxmail.com
Attachment 9
     None; used car dealer
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Fill in this information to identify your case:

Debtor 1           Christopher Antwon Mitchell
                   __________________________________________________________________
                    First Name                 Middle Name                Last Name

Debtor 2            Amber L. Mitchell
                    ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name                Last Name


                                        Western District Of Arkansas
United States Bankruptcy Court for the: _______________________________________

Case number         ___________________________________________                                                                               Check if this is an
 (If known)                                                                                                                                      amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Hold Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                       secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                   Surrender the property.                          
                                                                                                                                         X No
          name:      Credit Cars of NWA
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                    
                                                                                      X Retain the property and enter into a
          securing debt: 2007 Chevrolet Tahoe                with 180000 miles.          Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

   
          Creditor’s                                                                   Surrender the property.                          
                                                                                                                                         X No
          name:      Credit Acceptance         Company
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                    
                                                                                      X Retain the property and enter into a
          securing debt: 2010 Toyota Venza with 121223 miles.                            Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________
   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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Your name      Christopher Antwon Mitchell
               ______________________________________________________                           Case number (If known)_____________________________________
               First Name           Middle Name      Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                                   Will the lease be assumed?

     Lessor’s name:                      
                              Acceptance Now                                                                             No
                                                                                                                        
                                                                                                                        X Yes
     Description of leased
     property:
                   Lease to purchase contract for couch and love seat

     Lessor’s name:                      
                              Frank and Kay Giardino                                                                     No
                                                                                                                        
                                                                                                                        X Yes
     Description of leased
     property:
                   residential lease of 1101 Lockheed Street, Apt.B, Bentonville, AR 72712

     Lessor’s name:                                                                                                     No
     Description of leased                                                                                               Yes
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:
 
     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



 /s/Christopher A. Mitchell
      ___________________________________________                /s/Amber L. Mitchell
                                                                    ___________________________________________
     Signature of Debtor 1                                           Signature of Debtor 2

          09/27/2019
     Date _________________                                          Date 09/27/2019
                                                                          _________________
            MM /    DD   /   YYYY                                         MM /   DD /   YYYY




 Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                          page 2
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 Fill in this information to identify your case:                                                    Check one box only as directed in this form and in
                                                                                                    Form 122A-1Supp:
 Debtor 1          Christopher Antwon Mitchell
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

                     Amber L. Mitchell                                                                 1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name                     
                                                                                                    X   2. The calculation to determine if a presumption of
                                                                                                           abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: WESTERN  DISTRICT OF ARKANSAS
                                         ____________________________________________
                                                                                                           Means Test Calculation (Official Form 122A–2).
 Case number         ___________________________________________                                       3. The Means Test does not apply now because of
 (If known)                                                                                                qualified military service but it could apply later.


                                                                                                     Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
      Not married. Fill out Column A, lines 2-11.
     
     X Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

      Married and your spouse is NOT filing with you. You and your spouse are:
        Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
        Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                    Column A              Column B
                                                                                                    Debtor 1              Debtor 2 or
                                                                                                                          non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
                                                                                                      3,435.46
                                                                                                     $_________             2,000.00
                                                                                                                           $__________
    (before all payroll deductions).
 3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                                      0.00
                                                                                                     $_________             0.00
                                                                                                                           $__________
    Column B is filled in.
 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
                                                                                                      0.00
                                                                                                     $_________             0.00
                                                                                                                           $__________
    filled in. Do not include payments you listed on line 3.
 5. Net income from operating a business, profession,
                                                                   Debtor 1       Debtor 2
    or farm
    Gross receipts (before all deductions)                            $______    $______
                                                                               _         _
     Ordinary and necessary operating expenses                    –   $______ –_ $______ _
                                                                                             Copy                           0.00
     Net monthly income from a business, profession, or farm           0.00
                                                                      $______      0.00
                                                                                  $______ here
                                                                                                      0.00
                                                                                                     $_________            $__________

 6. Net income from rental and other real property                 Debtor 1       Debtor 2
    Gross receipts (before all deductions)                            $______   $______
                                                                              _         _
     Ordinary and necessary operating expenses                    –   $______ – $______
                                                                              _         _
                                                                                             Copy                           0.00
     Net monthly income from rental or other real property             0.00
                                                                      $______      0.00
                                                                                  $______ here
                                                                                                      0.00
                                                                                                     $_________            $__________
 7. Interest, dividends, and royalties                                                                0.00
                                                                                                     $_________             0.00
                                                                                                                           $__________



Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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Debtor 1             Christopher Antwon Mitchell
                     _______________________________________________________                                                        Case number (if known)_____________________________________
                     First Name              Middle Name                      Last Name



                                                                                                                                       Column A               Column B
                                                                                                                                       Debtor 1               Debtor 2 or
                                                                                                                                                              non-filing spouse

 8. Unemployment compensation                                                                                                             0.00
                                                                                                                                         $__________             0.00
                                                                                                                                                                $___________
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ................................ 
           For you ....................................................................................              0.00
                                                                                                              $______________
           For your spouse ....................................................................                      0.00
                                                                                                              $______________
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                                                0.00
                                                                                                                                         $__________             0.00
                                                                                                                                                                $___________
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.

        ______________________________________                                                                                           $_________             $___________
        ______________________________________                                                                                           $_________             $___________
        Total amounts from separate pages, if any.                                                                                    + $_________
                                                                                                                                         0.00                 + $___________
                                                                                                                                                                 0.00

 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                   3,435.46
                                                                                                                                         $_________
                                                                                                                                                          +      2,000.00
                                                                                                                                                                $___________
                                                                                                                                                                                    =    5,435.46
                                                                                                                                                                                        $__________
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

 Part 2:            Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a.        Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here       5,435.46
                                                                                                                                                                                    $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                   x 12
     12b.        The result is your annual income for this part of the form.                                                                                                 12b.    65,225.52
                                                                                                                                                                                    $__________

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                                                                 Arkansas

     Fill in the number of people in your household.
                                                                                                          3
     Fill in the median family income for your state and size of household. ................................................................................................. 13.    60,370.00
                                                                                                                                                                                    $__________
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk’s office.
 14. How do the lines compare?

     14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                     Go to Part 3.

     14b. 
          X Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.

 Part 3:             Sign Below


                    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                    /s/Christopher A. Mitchell
                          __________________________________________________________                                             /s/Amber
                                                                                                                                  ______________________________________
                                                                                                                                           L. Mitchell
                          Signature of Debtor 1                                                                                   Signature of Debtor 2

                         Date 09/27/2019
                              _________________                                                                                   Date 09/27/2019
                                                                                                                                       _________________
                              MM / DD / YYYY                                                                                            MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
¯¯¯¯¯
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.


Official Form 122A-1                                                   Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
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  Fill in this information to identify your case:                                                                                                 Check the appropriate box as directed in
                                                                                                                                                  lines 40 or 42:

  Debtor 1           Christopher Antwon Mitchell
                     _________________________________________________________________                                                            According to the calculations required by
                      First Name                             Middle Name                          Last Name
                                                                                                                                                  this Statement:
  Debtor 2            Amber L. Mitchell
                      ________________________________________________________________
  (Spouse, if filing) First Name                             Middle Name                          Last Name                                       
                                                                                                                                                  X    1. There is no presumption of abuse.

  United States Bankruptcy Court fo              WESTERN DISTRICT OF ARKANSAS
                                                 __________                                                                                           2. There is a presumption of abuse.

  Case number         ___________________________________________
   (If known)
                                                                                                                                                   Check if this is an amended filing



Official Form 122A–2
Chapter 7 Means Test Calculation                                                                                                                                                           04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).


Part 1:           Determine Your Adjusted Income



1. Copy your total current monthly income. ............................................................... Copy line 11 from Official Form 122A-1 here ...........                       5,435.46
                                                                                                                                                                                      $_________

2. Did you fill out Column B in Part 1 of Form 122A–1?

        No. Fill in $0 for the total on line 3.
    
    X    Yes. Is your spouse filing with you?

                No. Go to line 3.
         
         X       Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

    On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT
    regularly used for the household expenses of you or your dependents?

     No. Fill in 0 for the total on line 3.
    Yes. Fill in the information below:

                State each purpose for which the income was used                                                       Fill in the amount you
                For example, the income is used to pay your spouse’s tax debt or to support                            are subtracting from
                people other than you or your dependents                                                               your spouse’s income


            ___________________________________________________                                                          $______________


            ___________________________________________________                                                          $______________

            ___________________________________________________                                                        + $______________
                                                                                                                                     0.00
            Total. .................................................................................................     $______________
                                                                                                                                                Copy total here ...............    ─ $_________0.00


4. Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                            5,435.46
                                                                                                                                                                                      $_________




Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                 page 1
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Debtor 1        Christopher Antwon Mitchell
                _______________________________________________________                                                          Case number (if known)_____________________________________
                First Name          Middle Name               Last Name




Part 2:        Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk’s office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A–1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A–1 is filled in.



   5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,                                                  3
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.



   National Standards                  You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill                                                              1,446.00
      in the dollar amount for food, clothing, and other items.                                                                                                                   $________



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categoriespeople who are
      under 65 and people who are 65 or olderbecause older people have a higher IRS allowance for health care costs. If your
      actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a.    Out-of-pocket health care allowance per person
                                                                                               55.00
                                                                                      $____________


       7b.    Number of people who are under 65
                                                                                      X ______3

                                                                                              165.00                                           165.00
       7c.    Subtotal. Multiply line 7a by line 7b.                                  $____________              Copy here             $___________




           People who are 65 years of age or older


       7d.    Out-of-pocket health care allowance per person                                  114.00
                                                                                      $____________

       7e.    Number of people who are 65 or older                                    X ______0

                                                                                                0.00
       7f.    Subtotal. Multiply line 7d by line 7e.                                  $____________              Copy here
                                                                                                                                     + $___________
                                                                                                                                                0.00



                                                                                                                                               165.00
       7g.    Total. Add lines 7c and 7f......................................................................................          $___________           Copy total here          165.00
                                                                                                                                                                                  $________




Official Form 122A–2                                                         Chapter 7 Means Test Calculation                                                                      page 2
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Debtor 1         Christopher Antwon Mitchell
                 _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name




   Local Standards                 You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
    Housing and utilities – Insurance and operating expenses
    Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk’s office.


   8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses. ........................................................................                            569.00
                                                                                                                                                                            $____________


   9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount listed                                                      1,017.00
              for your county for mortgage or rent expenses. ......................................................................            $___________


           9b. Total average monthly payment for all mortgages and other debts secured by your home.



              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Then divide by 60.

                Name of the creditor                                                               Average monthly
                                                                                                   payment

                ___________________________________                                                 $____________

                ___________________________________                                                $____________


                ___________________________________ +                                              $____________

                                                                                                                                                                  Repeat this
                                                                                                                0.00 Copy
                                             Total average monthly payment                          $____________
                                                                                                                               here
                                                                                                                                             ─ $___________
                                                                                                                                                        0.00      amount on
                                                                                                                                                                  line 33a.


       9c.     Net mortgage or rent expense.
                                                                                                                                                     1,017.00     Copy            1,017.00
                                                                                                                                                                            $___________
               Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                      $___________
               rent expense). If this amount is less than $0, enter $0. ..................................................................                        here




   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                          0.00
                                                                                                                                                                            $___________
       the calculation of your monthly expenses, fill in any additional amount you claim.

           Explain       _________________________________________________________________
           why:
                         _________________________________________________________________

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
        0. Go to line 14.
       1. Go to line 12.
       
       X 2 or more. Go to line 12.



   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                                         420.00
                                                                                                                                                                            $___________




Official Form 122A–2                                                       Chapter 7 Means Test Calculation                                                                     page 3
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Debtor 1       Christopher Antwon Mitchell
               _______________________________________________________                                          Case number (if known)_____________________________________
               First Name         Middle Name           Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
       for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
       In addition, you may not claim the expense for more than two vehicles.


       Vehicle 1            Describe Vehicle 1:    2007 Chevrolet Tahoe
                                                   _______________________________________________________________
                                                   _______________________________________________________________

                                                                                                                                         508.00
                                                                                                                                 $___________
       13a. Ownership or leasing costs using IRS Local Standard. ...................................................

       13b.    Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
               To calculate the average monthly payment here and on line 13e, add all
               amounts that are contractually due to each secured creditor in the 60 months
               after you filed for bankruptcy. Then divide by 60.

                    Name of each creditor for Vehicle 1                        Average monthly
                                                                               payment
                 Credit Cars of Bentonville
                 _____________________________________                                    162.53
                                                                                  $____________

                 _____________________________________                        +   $____________

                                                                                                             Copy                                  Repeat this
                                                                                          162.53
                                    Total average monthly payment                 $____________
                                                                                                             here
                                                                                                                            ─           162.53
                                                                                                                                $____________      amount on
                                                                                                                                                   line 33b.

                                                                                                                                                  Copy net
       13c. Net Vehicle 1 ownership or lease expense                                                                                              Vehicle 1
                                                                                                                                        345.47
                                                                                                                                $____________     expense
              Subtract line 13b from line 13a. If this amount is less than $0, enter $0. .............................                                                   345.47
                                                                                                                                                  here .....    $_________



       Vehicle 2            Describe Vehicle 2:    2010 Toyota Venza
                                                   _______________________________________________________________
                                                   _______________________________________________________________


       13d. Ownership or leasing costs using IRS Local Standard. .................................................                       508.00
                                                                                                                                $____________

       13e.    Average monthly payment for all debts secured by Vehicle 2.
               Do not include costs for leased vehicles.

                    Name of each creditor for Vehicle 2                        Average monthly
                                                                               payment

                 Credit Acceptance
                 _____________________________________                                    369.40
                                                                                  $____________



                 _____________________________________                        +   $____________


                                                                                                               Copy                                Repeat this
                                                                                          369.40
                                     Total average monthly payment                $____________
                                                                                                               here
                                                                                                                            ─ $____________
                                                                                                                                      369.40       amount on
                                                                                                                                                   line 33c.

                                                                                                                                                  Copy net
       13f. Net Vehicle 2 ownership or lease expense                                                                                              Vehicle 2
                                                                                                                                        138.60
                                                                                                                                $____________     expense
              Subtract line 13e from 13d. If this amount is less than $0, enter $0. .....................................                                               138.60
                                                                                                                                                  here ...      $________


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                              $________

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                                               $________


Official Form 122A–2                                                Chapter 7 Means Test Calculation                                                             page 4
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Debtor 1      Christopher Antwon Mitchell
              _______________________________________________________                            Case number (if known)_____________________________________
              First Name    Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your                               950.52
                                                                                                                                                 $________
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                      $________


   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.
                                                                                                                                                 $________


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                                 $________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.                    $________


   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                                 $_______66.67


   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                                $________


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it       +    $_______
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                               5,118.26
                                                                                                                                                 $_______
       Add lines 6 through 23.




Official Form 122A–2                                           Chapter 7 Means Test Calculation                                                  page 5
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Debtor 1       Christopher Antwon Mitchell
               _______________________________________________________                        Case number (if known)_____________________________________
               First Name     Middle Name       Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                                  195.18
                                                                 $____________

       Disability insurance                                      $____________

       Health savings account                                +   $____________
                                                                         195.18
                                                                                                 Copy total here .....................................
       Total                                                     $____________                                                                                   195.18
                                                                                                                                                            $________

       Do you actually spend this total amount?

          No. How much do you actually spend?                   $___________
       
       X   Yes



   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your                          $________
      household or member of your immediate family who is unable to pay for such expenses. These expenses may include
      contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
                                                                                                                                                            $________
       you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
      8, then fill in the excess amount of home energy costs.
                                                                                                                                                            $________
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.


   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83*
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
      elementary or secondary school.                                                                                                                       $________
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher                                  $_______
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
      this form. This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.


   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                              + $_______
      instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


   32. Add all of the additional expense deductions.                                                                                                            195.18
                                                                                                                                                           $_______
       Add lines 25 through 31.




Official Form 122A–2                                        Chapter 7 Means Test Calculation                                                                page 6
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Debtor 1            Christopher Antwon Mitchell
                    _______________________________________________________                                                                  Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                                       Average monthly
                                                                                                                                                       payment
                    Mortgages on your home:

           33a. Copy line 9b here ................................................................................................................ 
                                                                                                                                                                      0.00
                                                                                                                                                           $_____________

                    Loans on your first two vehicles:                                                                             
           33b. Copy line 13b here. ............................................................................................................ 
                                                                                                                                                                    162.53
                                                                                                                                                           $_____________

           33c. Copy line 13e here. ...........................................................................................................                    369.40
                                                                                                                                                           $_____________

           33d. List other secured debts:

                                                                                                                                   
                      Name of each creditor for other                              Identify property that                        Does payment
                      secured debt                                                 secures the debt                              include taxes
                                                                                                                                 or insurance?

                       Credit Cars of NWA
                       _______________________________                             See Attachment Line 33d:
                                                                                   ________________________
                                                                                                                                   
                                                                                                                                   X      No                       162.53
                                                                                                                                                           $____________
                                                                                   Property Identification                               Yes

                       Credit Acceptance Company
                       _______________________________                             See Attachment Line 33d:
                                                                                   ________________________
                                                                                                                                   
                                                                                                                                   X      No                       369.40
                                                                                                                                                           $____________
                                                                                   Property Identification                               Yes

                                                                                                                                         No
                       _______________________________                             ________________________                                            +   $____________
                                                                                                                                         Yes

      33e. Total average monthly payment. Add lines 33a through 33d. ....................................................
                                                                                                                                                                    1,063.86 Copy total
                                                                                                                                                           $____________                            1,063.86
                                                                                                                                                                             here           $_________


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

              No. Go to line 35.
       
       X       Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.

                        Name of the creditor                         Identify property that                    Total cure                                  Monthly cure
                                                                     secures the debt                          amount                                      amount
                        Credit Cars of NWA                           See Attachment Line                      0.00                                                    0.00
                        _______________________                      ____________________                    $__________               ÷ 60 =              $_____________
                                                                     34: 1st Property
                        See Attachment Line 34:                      See Attachment Line                      0.00                                                    0.00
                        _______________________                      ____________________                    $__________               ÷ 60 =              $_____________
                        2nd Creditor Name                            34: 2nd Property

                        _______________________                      ____________________                    $__________               ÷ 60 =          +   $_____________

                                                                                                                                         Total                        0.00 Copy total
                                                                                                                                                           $_____________                    $________0.00
                                                                                                                                                                             here


   35. Do you owe any priority claims such as a priority tax, child support, or alimony ─
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

              No. Go to line 36.
       
       X       Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.

                        Total amount of all past-due priority claims .................................................................                               0.00
                                                                                                                                                           $____________     ÷ 60 =                  0.00
                                                                                                                                                                                             $_________

Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                       page 7
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Debtor 1           Christopher Antwon Mitchell
                   _______________________________________________________                                                                Case number (if known)_____________________________________
                   First Name           Middle Name                  Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
             No. Go to line 37.
        
        X     Yes. Fill in the following information.

                       Projected monthly plan payment if you were filing under Chapter 13                                                                            900.00
                                                                                                                                                            $_____________
                       Current multiplier for your district as stated on the list issued by the
                       Administrative Office of the United States Courts (for districts in Alabama and
                       North Carolina) or by the Executive Office for United States Trustees (for all
                       other districts).                                                                                                                x        7.5
                                                                                                                                                             ______
                       To find a list of district multipliers that includes your district, go online using the
                       link specified in the separate instructions for this form. This list may also be
                       available at the bankruptcy clerk’s office.

                       Average monthly administrative expense if you were filing under Chapter 13                                                                      67.50 Copy total
                                                                                                                                                            $_____________                                   67.50
                                                                                                                                                                                                       $_________
                                                                                                                                                                                      here



   37. Add all of the deductions for debt payment.                                                                                                                                                          1,131.36
                                                                                                                                                                                                      $_________
       Add lines 33e through 36. ..............................................................................................................................................................


   Total Deductions from Income


   38. Add all of the allowed deductions.

       Copy line 24, All of the expenses allowed under IRS                                                     5,118.26
                                                                                                      $______________
       expense allowances .....................................................................

       Copy line 32, All of the additional expense deductions ..........                                        195.18
                                                                                                      $______________


       Copy line 37, All of the deductions for debt payment .............                          + $______________
                                                                                                              1,131.36


                                                                     Total deductions                          6,444.80
                                                                                                      $______________                           Copy total here ...............................              6,444.80
                                                                                                                                                                                                       $_________


   Part 3:           Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months

                  Copy line 4, adjusted current monthly income .....                                          5,435.46
                                                                                                      $_____________
         39a.


         39b.     Copy line 38, Total deductions. .........                                       −           6,444.80
                                                                                                      $_____________

         39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                          -1,009.34                          Copy                      -1,009.34
                                                                                                      $_____________                                                $____________
                 Subtract line 39b from line 39a.                                                                                               here

                   For the next 60 months (5 years) ...........................................................................................................     x 60

         39d. Total. Multiply line 39c by 60. ..................................................................................................................              0.00 Copy
                                                                                                                                                                    $____________
                                                                                                                                                                                             here   $________0.00


   40. Find out whether there is a presumption of abuse. Check the box that applies:

        
        X     The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to
              Part 5.

             The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
              may fill out Part 4 if you claim special circumstances. Then go to Part 5.

             The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

              * Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.


Official Form 122A–2                                                                Chapter 7 Means Test Calculation                                                                                   page 8
              5:19-bk-72647 Doc#: 1 Filed: 09/27/19 Entered: 09/27/19 12:24:37 Page 71 of 89
Debtor 1        Christopher Antwon Mitchell
                _______________________________________________________                                                                      Case number (if known)_____________________________________
                First Name            Middle Name                   Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
            Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
            (Official Form 106Sum), you may refer to line 3b on that form. ...........................................................
                                                                                                                                                                       $___________

                                                                                                                                                                       x   .25

           41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).                                                                                          Copy
                                                                                                                                                                                                 $________
               Multiply line 41a by 0.25. ..........................................................................................................................
                                                                                                                                                                       $___________    here




   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

            Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

            Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
             of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




Part 4:         Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

      No. Go to Part 5.
      Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
            for each item. You may include expenses you listed in line 25.


              You must give a detailed explanation of the special circumstances that make the expenses or income
              adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
              expenses or income adjustments.

                                                                                                                                                                       Average monthly expense
               Give a detailed explanation of the special circumstances
                                                                                                                                                                       or income adjustment

               _______________________________________________________________________________                                                                         $__________________

               _______________________________________________________________________________                                                                         $__________________

               _______________________________________________________________________________
                                                                                                                                                                       $__________________

               _______________________________________________________________________________                                                                         $__________________




Part 5:       Sign Below


              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                 /s/Christopher A. Mitchell
                  ___________________________________________________                                                     ___________________________________
                                                                                                                                 /s/Amber L. Mitchell
                  Signature of Debtor 1                                                                                          Signature of Debtor 2


                       09/27/2019
                  Date _________________                                                                                              09/27/2019
                                                                                                                                 Date _________________
                          MM / DD          / YYYY                                                                                        MM / DD         / YYYY



Official Form 122A–2                                                                 Chapter 7 Means Test Calculation                                                                             page 9
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                                                Attachment
                                Debtor: Christopher Antwon Mitchell Case No:


Attachment Line 33d: Property Identification
     2007 Chevrolet Tahoe with 180000 miles.
Attachment Line 33d: Property Identification
     2010 Toyota Venza with 121223 miles.
Attachment Line 34: 1st Property Identification
     2007 Chevrolet Tahoe with 180000 miles.
Attachment Line 34: 2nd Creditor Name
     Credit Acceptance Company
Attachment Line 34: 2nd Property Identification
     2010 Toyota Venza with 121223 miles.
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B2030 (Form 2030) (12/15)




                                        United States Bankruptcy Court
                                                     WESTERN DISTRICT OF ARKANSAS



In re Christopher Antwon Mitchell and Amber L. Mitchell

                                                                                                 Case No. ___________________

Debtor                                                                                           Chapter 7____________________

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
      contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                               1,000.00
      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                             1,000.00

      Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                               0.00

2.    The source of the compensation paid to me was:

            X Debtor                                  Other (specify)

3.    The source of compensation to be paid to me is:

            X Debtor                                  Other (specify)

4.          X I have not agreed to share the above-disclosed compensation with any other person unless they are
            members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a other person or persons who are not
            members or associates of my law firm. A copy of the agreement, together with a list of the names of the
            people sharing in the compensation, is attached.

5.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
      case, including:

      a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
            file a petition in bankruptcy;

      b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
            hearings thereof;
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B2030 (Form 2030) (12/15)

      d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

      e.   [Other provisions as needed]




6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:
      Representing the Debtor in adversarial proceedings and other contested bankruptcy matters and
      negotiating reaffirmation agreements with creditors.




                                                       CERTIFICATION

               I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
            me for representation of the debtor(s) in this bankruptcy proceeding.

            September 27, 2019
            ______________________               /s/Mark D. Drake
            Date                                     Signature of Attorney

                                                 Mark D. Drake, Attorney at Law, PA
                                                     Name of law firm
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                                         UNITED STATES BANKRUPTCY COURT
                                                                WESTERN DISTRICT OF ARKANSAS


 In re                                                                                             Dothins
                                                                                                                                                 Chapter 7

                Christopher Antwon Mitchell and Amber L.                                                                                         Case No.
                Mitchell
                                                                                                                                                 Dothins




 Dothins
                                        Debtors.



                                        STATEMENT OF MONTHLY Net INCOME
 The undersigned certifies the following is the debtor's monthly income.


      Income:
      Dothins                                         Dothins
                                                                                         Debtor
                                                                                         Dothins             Dothins                                                   Dothins
                                                                                                                                                                                          Joint Debtor
                                                                                                                                                                                          Dothins




 Six months ago
 Dothins                                Dothins
                                                                $   1,874.46
                                                                    Dothins                                            Dothins                                              Dothins
                                                                                                                                                                                      $      1,272.32
                                                                                                                                                                                             Dothins




 Five months ago
 Dothins                                Dothins
                                                                $   1,874.46
                                                                    Dothins                                            Dothins                                              Dothins
                                                                                                                                                                                      $      1,272.32
                                                                                                                                                                                             Dothins




 Four months ago
 Dothins                                Dothins
                                                                $   1,874.46
                                                                    Dothins                                            Dothins                                              Dothins
                                                                                                                                                                                      $      1,272.32
                                                                                                                                                                                             Dothins




 Three months ago
 Dothins                                Dothins
                                                                $   1,874.46
                                                                    Dothins                                            Dothins                                              Dothins
                                                                                                                                                                                      $      1,272.32
                                                                                                                                                                                             Dothins




 Two months ago
 Dothins                                Dothins
                                                                $   1,874.46
                                                                    Dothins                                            Dothins                                              Dothins
                                                                                                                                                                                      $      1,272.32
                                                                                                                                                                                             Dothins




 Last month
 Dothins                                Dothins
                                                                $   2,119.77
                                                                    Dothins                                            Dothins                                              Dothins
                                                                                                                                                                                      $      1,272.32
                                                                                                                                                                                             Dothins




Total Net income for                                                                                                             Dothins




six months preceding filing
Dothins                                     Dothins
                                                                $    11,492.07
                                                                     Dothins                                                                                               Dothins
                                                                                                                                                                                      $       7,633.92
                                                                                                                                                                                              Dothins




Average Monthly Net                                                                                                              Dothins




Income
Dothins                                     Dothins
                                                                $    1,915.35
                                                                     Dothins                                                                                               Dothins
                                                                                                                                                                                      $       1,272.32
                                                                                                                                                                                              Dothins




 Dated:
 Dothins
                   September 27, 2019
                   Dothins                                                     Dothins                                                 Dothins




 Dothins           Dothins                                                     Dothins                                                 Dothins
                                                                                                                                                            /s/Christopher A. Mitchell
 Dothins           Dothins                                                     Dothins                                                 Dothins
                                                                                                                                                           Christopher Antwon Mitchell
 Dothins           Dothins                                                     Dothins                                                 Dothins
                                                                                                                                                                      Debtor
 Dothins           Dothins                                                     Dothins                                                 Dothins




 Dothins           Dothins                                                     Dothins                                                 Dothins
                                                                                                                                                               /s/Amber L. Mitchell
 Dothins           Dothins                                                     Dothins                                                 Dothins
                                                                                                                                                                 Amber L. Mitchell
 Dothins           Dothins                                                     Dothins                                                 Dothins
                                                                                                                                                                   Joint Debtor
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UNITED STATES BANKRUPTCY COURT
 WESTERN DISTRICT OF ARKANSAS
________________________________________________________________________________________________________
In Re:                                                                   Case No.
         Christopher Antwon Mitchell and Amber L.
         Mitchell

                   Debtor(s)
________________________________________________________________________________________________________

                                          DECLARATION RE: ELECTRONIC FILING OF
                                           PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER
              Christopher Antwon Mitchell and
       I (WE) _________________________________,
              Amber L. Mitchell                  the undersigned debtor(s), hereby declare under penalty of perjury that
the information provided in the electronically filed petition, statements, and schedules is true and correct and that I signed these
documents prior to electronic filing. I consent to my attorney sending my petition, statements and schedules to the United States
Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be executed at the First Meeting of Creditors
and filed with the Trustee. I understand that failure to file the signed and dated original of this DECLARATION may cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I (we) further declare under penalty of perjury that I (we) signed the
original Statement of Social Security Number (s), (Official Form B21), prior to the electronic filing of the petition and have verified the 9-
digit social security number displayed on the Notice of Meeting of Creditors to be accurate.

  
  X If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a chapter: I am
aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the relief available under each
chapter, and choose to proceed under this chapter. I request relief in accordance with the chapter specified in this petition. I (WE)
and, the undersigned debtor(s), hereby declare under penalty of perjury that the information provided in the electronically filed
petition, statements, and schedules is true and correct.

   If petitioner is a corporation or partnership: I declare under a penalty of perjury that the information provided in the
electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor
requests relief in accordance with the chapter specified in this petition.

    If petitioner files an application to pay filing fees in installments: I certify that I completed an application to pay the filing fee
in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case may
be dismissed and, if dismissed, I may not receive a discharge of my debts.


Dated: September 27, 2019
       _____________________________

        /s/Christopher A. Mitchell
Signed: _______________________________________                              /s/Amber L. Mitchell
                                                                             ______________________________________________
                      (Applicant)                                                                 (Joint Applicant)


PART II - DECLARATION OF ATTORNEY

          I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including the
Statement of Social Security Number(s) (Official Form B21) before I electronically transmitted the petition, schedules, and statements to
the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders and Administrative Procedures,
including submission of the electronic entry of the debtor(s) Social Security number into the Court’s electronic records. If an individual, I
further declare that I have informed the petitioner (if an individual) that [he or she] may qualify to proceed under chapter 7, 11, 12 or 13
of Title 11, United States Code, and have explained the relief available under each chapter. This declaration is based on the information
of which I have knowledge.

       September 27, 2019
Dated: ______________________                              Attorney for Debtor(s) /s/Mark D. Drake
                                                                                  _________________________________________
                                                                                   Mark D. Drake
                                                                                   _________________________________________
                                                           Address of Attorney     2800 SW 14th Street, Suite 14
                                                                                   _________________________________________
                                                                                   Bentonville, Arkansas 72712
                                                                                   _________________________________________
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
     Chapter 7 — Liquidation
                                                                However, if the court finds that you have
     Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
     Chapter 12 — Voluntary repayment plan
                   for family farmers or                        may deny your discharge.
                   fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
     Chapter 13 — Voluntary repayment plan
                   for individuals with regular                 debts are not discharged under the law.
                   income                                       Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2
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Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                A married couple may file a bankruptcy case
                                                                together—called a joint case. If you file a joint
    Warning: File Your Forms on Time
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                Understand which services you
    their deadlines, go to:                                     could receive from credit
    http://www.uscourts.gov/bkforms/bankruptcy_form             counseling agencies
    s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                If you are filing a joint case, both spouses must
consequences
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from:
                                                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
Make sure the court has your                                    In Alabama and North Carolina, go to:
mailing address                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4
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                                Acceptance Now
                                5501 Headquarters Drive
                                Plano,TX 75024

Dothins




                                Advantage Recovery Services, Inc.
                                PO Box 1707
                                Fort Smith,AR 72902-1707

Dothins




                                Afni, Inc
                                PO Box 3517
                                Bloomington,IL 61702-3517

Dothins




                                AT&T Wireless
                                Attn: Bankruptcy Dept.
                                4331 Communications Drive, Floor 4W
                                Dallas,TX 75211

Dothins




                                Benton Emergency Group, LLC
                                PO Box 2995
                                San Antonio,TX 78299-2995

Dothins




                                Butler & Associates, PA
                                3706 SW Topeka Blvd.
                                Suite 300
                                Topeka,KS 66609-1291

Dothins




                                Butler & Associates, PA
                                3706 SW Topeka Blvd
                                Suite 300
                                Topeka,KS 66609-1291

Dothins




                                Capital One Bank USA, NA
                                PO Box 30281
                                Salt Lake City,UT 84130

Dothins




                                Cash USA
                                3315 E Russel Road, Suite A-4
                                Box 105
                                Las Vegas,NV 89120

Dothins
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                                Centerpoint Energy
                                PO Box 4583
                                Houston,TX 77210-4583

Dothins




                                Commonwealth Financial Systems
                                120 N Keyser Av.
                                Scranton,PA 18504

Dothins




                                Cox Communications
                                PO Box 248871
                                Oklahoma City,OK 73124-8871

Dothins




                                Credit Acceptance Company
                                PO Box 5070
                                Southfield,MI 48086

Dothins




                                Credit Cars of NWA
                                3302 S Walton Blvd.
                                Bentonville,AR 72712

Dothins




                                Daily & Woods, PLLC
                                PO Box 1446
                                Fort Smith,AR 72902-1446

Dothins




                                Frank and Kay Giardino
                                12924 Shark Lane
                                Bentonville,AR 72730-2716

Dothins




                                Great Southern Bank
                                1451 E Battlefield
                                Springfield,MO 65804

Dothins




                                Green Stream Lending
                                PO Box 1120
                                Boulevard,CA 91905

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                                I. C. System, Inc
                                PO Box 45950
                                Omaha,NE 68145-0950

Dothins




                                Jeffrey Reynerson
                                Attorney at Law
                                4700 S Thompson St, Suite B-102
                                Springdale,AR 72764

Dothins




                                Medical Data Systems, Inc.
                                1374 S Babcock Street
                                Melbourne,FL 32901

Dothins




                                Medical Data Systems, Inc.
                                2001 9th Av, Suite 312
                                Vero Beach,FL 32960

Dothins




                                Northwest Medical Center
                                3000 SE Medical Center Parkway
                                Bentonville,AR 72712

Dothins




                                Phoenix Financial Services LLC
                                PO Box 361450
                                Indianapolis,IN 46236-1450

Dothins




                                Progressive Car Finance, LLC
                                PO Box 2101
                                Lowell,AR 72745

Dothins




                                Progressive Finance
                                11629 South 700 East
                                Draper,UT 84020

Dothins




                                South Arkansas Physicians
                                PO Box 602162
                                Charlotte,NC 28260-2162

Dothins
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                                State of Kansas
                                Shawnee County District Attorney
                                200 SE 7th Street, Room 214
                                Topeka,KS 66603-3971

Dothins




                                State of Kansas
                                Shawnee County District Attorney
                                200 SE 7th Street, Room 214
                                Topeka,KS 66603-3971

Dothins




                                The Bank of Missouri
                                Attn: Bankruptcy Dept.
                                PO Box 309
                                Perryville,MO 63775

Dothins




                                Webbank/Fingerhut
                                6250 Ridgewood Road
                                Saint Cloud,MN 56303

Dothins




                                World Acceptance Corp.
                                2246 Highway 412
                                Colcord,OK 74338

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                                                 UNITED STATES BANKRUPTCY COURT
                                                        Western District of Arkansas


                                     STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. § 341



INTRODUCTION

            Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Bankruptcy
Administrator has prepared this information sheet to help you understand some of the possible consequences
of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make
you aware of -
            (1) the potential consequences of seeking a discharge in bankruptcy,
                  including the effects on credit history;
            (2) the effect of receiving a discharge of debts in bankruptcy;
            (3) the effect of reaffirming a debt; and
            (4) your ability to file a petition under a different chapter of the Bankruptcy
                  Code.
            There are many other provisions of the Bankruptcy Code that may affect your situation. This
statement contains only general principles of law and is not a substitute for legal advice. If you have any
questions or need further information as to how the bankruptcy laws apply to your specific case, you should
consult with your lawyer.

WHAT IS A DISCHARGE?

           The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you
listed in your bankruptcy schedules. A discharge is a court order that says that you do not have to repay your
debts, but there are a number of exceptions. Debts which usually may not be discharged in your chapter 7
case include, for example, most taxes, child support, alimony, and student loans; court-ordered fines and
restitution; debts obtained through fraud or deception; debts which were not listed in your bankruptcy
schedules; and personal injury debts caused by driving while intoxicated or taking drugs. Your discharge may
be denied entirely if you, for example, destroy or conceal property; destroy, conceal or falsify records; or make
a false oath. Creditors cannot ask you to repay debts which have been discharged. You can only receive a
chapter 7 discharge once every eight (8) years.

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?

           The fact that you filed bankruptcy can appear on your credit report for as long as 10 years.
Thus, filing a bankruptcy petition may affect your ability to obtain credit in the future. Also, you may not be
excused from repaying debts that were not listed on your bankruptcy schedules or that you incurred after you
filed bankruptcy. There are exceptions to this general statement. See your lawyer if you have questions.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?

           After you file your bankruptcy petition, a creditor may ask you to reaffirm a certain debt or you
may seek to do so on your own. Reaffirming a debt means that you sign and file with the court a legally
enforceable document which states that you promise to repay all or a portion of the debt that may otherwise
have been discharged in your bankruptcy case. Reaffirmation agreements must generally be filed with the court
sixty (60) days after the first meeting of creditors.
           Reaffirmation agreements are strictly voluntary. They are not required by the Bankruptcy Code
or other state or federal law. You can voluntarily repay any debt instead of signing a reaffirmation agreement,
but there may be valid reasons for wanting to reaffirm a particular debt. This is particularly true when property
you wish to retain is collateral for a debt.
           Reaffirmation agreements must not impose an undue burden on you or your dependents and
must be in your best interest. If you decide to sign a reaffirmation agreement, you may cancel it at any time
before the court issues an order of discharge or within sixty (60) days after you filed the reaffirmation agreement
with the court, whichever is later.
           If you reaffirm a debt and fail to make the payments as required in the reaffirmation agreement,
the creditor can take action against you to recover any property that was given as security for the loan and you
may remain personally liable for any deficiency. In addition, creditors may seek other remedies, such as
garnishment of wages.

OTHER BANKRUPTCY OPTIONS
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           You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs.
Even if you have already filed for relief under chapter 7, you may be eligible to convert your case to a different
chapter.
           Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is
appointed to collect and sell, if economically feasible, all property you own that is not exempt from these
actions.
           Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also
available to individuals. Creditors vote on whether to accept or reject a plan, which also must be approved by
the court. While the debtor normally remains in control of the assets, the court can order the appointment of
a trustee to take possession and control of the business.
           Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers
must propose a plan to repay their creditors over a three-to-five year period and it must be approved by the
court. Plan payments are made through a chapter 12 trustee, who also monitors the debtors' farming
operations during the pendency of the plan.
           Finally, chapter 13 generally permits individuals to keep their property by repaying creditors
out of their future income. Each chapter 13 debtor writes a plan which must be approved by the bankruptcy
court. The debtors must pay the chapter 13 trustee the amount set forth in their plan. Debtors receive a
discharge after they complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with
regular income whose debts do not exceed $1,000,000 ($250,000 in unsecured debts and $750,000 in secured
debts).

       AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR
EXPLANATION, INCLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.

          By signing below, I/we acknowledge that I/we have received a copy of this document, and that
I/we have had an opportunity to discuss the information in this document with an attorney of my/our choice.



Date    September 27, 2019                                          /s/Christopher A. Mitchell
                                                                    Christopher Antwon Mitchell


                                                                    /s/Amber L. Mitchell
                                                                    Amber L. Mitchell




                                                                    2
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                                                 UNITED STATES BANKRUPTCY COURT
                                                          Western District of Arkansas


In re:                                                                                               Case No.
         Christopher Antwon Mitchell and Amber L. Mitchell
                                              Debtors
                                                                                                     Chapter    7


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     September 27, 2019                                        Signed:   /s/Christopher A. Mitchell




         Dated:     September 27, 2019                                        Signed:   /s/Amber L. Mitchell


                    /s/Mark D. Drake
                    Mark D. Drake
                    Attorney for Debtor(s)
                    Bar no.: 84038
                    2800 SW 14th Street, Suite 14
                    Bentonville, Arkansas 72712
                    Telephone No: (479) 464-4440
                    Fax No:

                    E-mail address:
                    mark@drakeattorney.kscoxmail.com
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                                WRITTEN NOTICE REQUIRED UNDER SECTION 527(a)(2)


              All information that you are required to provide with a petition and thereafter during a case under title 11
(“Bankruptcy”) of the United States Code is required to be complete, accurate, and truthful.

             All assets and all liabilities are required to be completely and accurately disclosed in the documents filed
to commence the case, and the replacement value of each asset as defined in title 11 United States Code section 506
must be stated in those documents where requested after reasonable inquiry to establish such value.
               Current monthly income, the amounts specified in section 707(b)(2), and, in a case under chapter 13 of
title 11, disposable income (determined in accordance with section 707(b)(2)), are required to be stated after
reasonable inquiry.
              Information that you provide during your case may be audited pursuant to title 11. Failure to provide
such information may result in dismissal of the case under title 11 or other sanction, including criminal sanctions.


  Date September 27, 2019                                 /s/Christopher A. Mitchell
                                                          Christopher Antwon Mitchell
                                                          Debtor


                                                          /s/Amber L. Mitchell
                                                          Amber L. Mitchell
                                                          Joint Debtor


                                                          /s/Mark D. Drake
                                                          Mark D. Drake
                                                          Attorney for Debtor(s)
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                      IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
                   SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION PREPARER

           If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to represent
you, or you can get help in some localities from a bankruptcy petition preparer who is not an attorney. THE LAW
REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION PREPARER TO GIVE YOU A WRITTEN CONTRACT
SPECIFYING WHAT THE ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
MUCH IT WILL COST. Ask to see the contract before you hire anyone.

         The following information helps you understand what must be done in a routine bankruptcy case to help you
evaluate how much service you need. Although bankruptcy can be complex, many cases are routine.


            Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for different forms
of debt relief available under the Bankruptcy Code and which form of relief is most likely to be beneficial for you. Be
sure you understand the relief you can obtain and its limitations. To file a bankruptcy case, documents called a Petition,
Schedules and Statement of Financial Affairs, as well as in some cases a Statement of Intention need to be prepared
correctly and filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once your case
starts, you will have to attend the required first meeting of creditors where you may be questioned by a court official
called a "trustee" and by creditors.


          If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You may want help
deciding whether to do so. A creditor is not permitted to coerce you into reaffirming your debts.


            If you choose to file a chapter 13 case in which you repay your creditors what you can afford over 3 to 5
years, you may also want help with preparing your chapter 13 plan and with the confirmation hearing on your plan which
will be before a bankruptcy judge.

            If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13, you will
want to find out what should be done from someone familiar with that type of relief.


             Your bankruptcy case may also involve litigation. You are generally permitted to represent yourself in
litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers, can give you legal advice.



 Date September 27, 2019                                  /s/Christopher A. Mitchell
                                                          Christopher Antwon Mitchell
                                                          Debtor


                                                          /s/Amber L. Mitchell
                                                          Amber L. Mitchell
                                                          Joint Debtor


                                                          /s/Mark D. Drake
                                                          Mark D. Drake
                                                          Attorney for Debtor(s)




                            This disclosure is provided to assisted persons pursuant to 11 U.S.C. §527(b)
